                     IN THE SUPREME COURT OF NORTH CAROLINA

                                            2022-NCSC-4

                                             No. 504A20

                                      Filed 11 February 2022

      IN THE MATTER OF: G.D.C.C.




            Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on

     29 September 2020 by Judge Resson O. Faircloth in District Court, Johnston County.

     This   matter    was    calendared     for   argument     in   the   Supreme      Court    on

     22 December 2021 but determined on the record and briefs without oral argument

     pursuant to Rule 30(f) of the North Carolina Rules of Appellate Procedure.


            Holland &amp; O’Connor, PLLC, by Jennifer S. O’Connor, for petitioner-appellee
            Johnston County Department of Social Services; and Mobley Law Office, P.A.,
            by Marie H. Mobley, for appellee Guardian ad Litem.

            J. Thomas Diepenbrock for respondent-appellant mother.


            BARRINGER, Justice.

¶1          Respondent appeals from an order terminating her parental rights in her

     minor child G.D.C.C. (Galena).1 After careful review, we hold that the trial court’s

     determination that there was a likelihood of future neglect if Galena was returned to




            1 Pseudonyms are used in this opinion to protect the juveniles’ identities and for ease

     of reading.
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     respondent’s care was supported by the findings of fact. Accordingly, we affirm the

     trial court’s order terminating respondent’s parental rights.

                        I.      Factual and Procedural Background

¶2         On 20 June 2016, the Johnston County Department of Social Services (DSS)

     obtained nonsecure custody of five-year-old Galena and filed a juvenile petition

     alleging that she was a neglected and dependent juvenile, which included the

     following factual allegations. Galena’s older sister, Nadina,2 had disclosed multiple

     accounts of sexual abuse by Galena’s father.3 Respondent, after learning of the

     allegations, still took Galena to spend the night at her father’s house, disregarding

     Nadina’s claims of sexual abuse. Respondent directed Nadina not to say anything

     during a child medical exam and tried to have Nadina call her father to apologize to

     him because he was upset. A child medical exam indicated Nadina was probably

     sexually abused, and her father failed a polygraph test. Respondent attempted to

     discredit Nadina by calling her a liar and accusing her of making up the allegations.

     Nadina was hospitalized on several occasions due to suicidal and homicidal ideations.

¶3         Following a hearing, the trial court entered an order on 13 December 2016

     adjudicating Galena to be a neglected and dependent juvenile. In a separate

     disposition order entered the same day, the trial court ordered that Galena remain in




           2 Nadina is not part of this appeal.
           3 Galena’s father is not a party to this appeal.
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     DSS      custody   and   that   respondent    cooperate    with   DSS   and   follow   all

     recommendations.

¶4            DSS developed an Out-of-Home Family Services Agreement with respondent

     to address parenting education, individual counseling services, nonoffender services,

     and maintaining a safe and appropriate home. In a 4 January 2017 order, following

     a permanency-planning hearing, the trial court found that respondent had started

     but failed to follow through with individual counseling, had not begun parenting

     classes, and had not completed a psychological evaluation. By October 2017,

     respondent had completed parenting classes, but she continued to lack an

     understanding of her children’s mental health and behavioral issues as well as the

     sexual abuse Nadina had suffered. On 11 May 2018, the trial court entered a

     permanency-planning order finding that respondent had participated in individual

     counseling on only a sporadic basis and “continue[d] to lack an understanding of her

     role and responsibility as to the juveniles’ current situation and removal from her

     care.”

¶5            On 17 April 2019, the trial court entered an amended permanency-planning

     order finding that respondent had completed an updated psychological evaluation in

     April 2018. The doctor who evaluated respondent reported that despite months of

     therapy and psychoeducation regarding how a nonoffending parent should respond

     to a child victim, respondent continued to fail to believe Nadina’s report of sexual
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     abuse. Further, the trial court found that respondent failed to take responsibility for

     the emotional and psychological damage that her actions—such as trying to discredit

     Nadina and calling her a liar—had caused Nadina. The trial court found that

     although respondent had cooperated in part with her case plan, she had not

     demonstrated an ability to apply what she learned in her classes and would be unable

     to protect her children.

¶6         The trial court’s findings in the next permanency-planning order entered on

     31 May 2019 were consistent with those in the 17 April 2019 order. The trial court

     also found that respondent had stopped attending therapy. The trial court, therefore,

     changed the primary permanent plan to adoption, with a secondary permanent plan

     of custody/guardianship with a court-approved caretaker.

¶7         On 11 July 2019, DSS filed a petition to terminate respondent’s parental rights

     in Galena alleging that grounds existed pursuant to N.C.G.S. § 7B-1111(a)(1), (2),

     and (6). Following a termination-of-parental-rights hearing that occurred over the

     course of several days, the trial court entered an order on 29 September 2020

     concluding that grounds existed to terminate respondent’s parental rights in Galena

     pursuant to each of the grounds DSS had alleged. The trial court also concluded that

     it was in Galena’s best interests that respondent’s parental rights be terminated. As
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     a result, the trial court terminated respondent’s parental rights. Respondent timely

     appealed.4

                                             II.     Analysis

¶8          On appeal, respondent challenges the trial court’s adjudication of the existence

     of grounds to terminate her parental rights pursuant to N.C.G.S. § 7B-1111(a)(1), (2),

     and (6). The North Carolina Juvenile Code sets out a two-step process for termination

     of parental rights: an adjudicatory stage and a dispositional stage. N.C.G.S. §§ 7B-

     1109 to -1110 (2021). At the adjudicatory stage, the trial court takes evidence, finds

     facts, and adjudicates the existence or nonexistence of the grounds for termination

     set forth in N.C.G.S. § 7B-1111. N.C.G.S. § 7B-1109(e). If the trial court adjudicates

     that one or more grounds exist, the trial court then proceeds to the dispositional stage

     where it determines whether termination of parental rights is in the juvenile’s best

     interests. N.C.G.S. § 7B-1110(a).

     A. Standard of Review



            4 Respondent’s notice of appeal may have been defective as it cited N.C.G.S. § 7B-

     1001(a1)(2), the statutory provision regarding appeals of orders eliminating reunification as
     a permanent plan; stated that respondent “hereby gives Notice of Appeal to the North
     Carolina Supreme Court of the Order eliminating reunification;” and was titled “NOTICE
     OF APPEAL Order Eliminating Reunification [TPR].” However, the notice did reference the
     termination-of-parental-rights order, stating that it was appealing “[t]he order terminating
     [respondent’s] rights [that] was filed on September 29, 2020.” Since neither the guardian ad
     litem nor DSS has challenged respondent’s notice of appeal as defective, “we elect, in the
     exercise of our discretion, to treat the record on appeal as a petition seeking the issuance of
     a writ of certiorari and to allow that petition . . . in order to reach the merits of [respondent’s]
     challenge to the trial court’s termination orders.” In re S.G.S., 2021-NCSC-156, ¶ 8 n.6.
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¶9            We review a trial court’s adjudication pursuant to N.C.G.S. § 7B-1111 to

       determine whether the findings are supported by clear, cogent, and convincing

       evidence and whether the findings support the conclusions of law. In re E.H.P., 372

       N.C. 388, 392 (2019). On appeal, this Court reviews “only those findings necessary to

       support the trial court’s determination that grounds existed to terminate

       respondent’s parental rights.” In re T.N.H., 372 N.C. 403, 407 (2019). “A trial court’s

       finding of fact that is supported by clear, cogent, and convincing evidence is deemed

       conclusive even if the record contains evidence that would support a contrary

       finding.” In re B.O.A., 372 N.C. 372, 379 (2019). Further, “[f]indings of fact not

       challenged by respondent are deemed supported by competent evidence and are

       binding on appeal.” In re T.N.H., 372 N.C. at 407. We review the trial court’s

       conclusions of law de novo. In re C.B.C., 373 N.C. 16, 19 (2019).

       B. Neglect

¶ 10          A trial court may terminate parental rights if it concludes the parent has

       neglected the juvenile within the meaning of N.C.G.S. § 7B-101. N.C.G.S. § 7B-

       1111(a)(1) (2021). As defined in pertinent part by N.C.G.S. § 7B-101, a neglected

       juvenile is one “whose parent . . . [d]oes not provide proper care, supervision, or

       discipline . . . [or c]reates or allows to be created a living environment that is injurious

       to the juvenile’s welfare.” N.C.G.S. § 7B-101(15) (2021).

                     In some circumstances, the trial court may terminate a
                     parent’s rights based on neglect that is currently occurring
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                    at the time of the termination hearing. However, such a
                    showing is not required if, as in this case, the child is not
                    in the parent’s custody at the time of the termination
                    hearing. Instead, the trial court looks to evidence of neglect
                    by a parent prior to losing custody of a child—including an
                    adjudication of such neglect[—]as well as any evidence of
                    changed conditions in light of the evidence of prior neglect
                    and the probability of a repetition of neglect. The
                    determinative factors must be the best interests of the
                    child and the fitness of the parent to care for the child at
                    the time of the termination proceeding. After weighing this
                    evidence, the trial court may find that neglect exists as a
                    ground for termination if it concludes the evidence
                    demonstrates a likelihood of future neglect by the parent.

       In re M.J.B. III, 377 N.C. 328, 2021-NCSC-50, ¶ 9 (cleaned up) (emphasis omitted).

¶ 11         In the present case, DSS obtained nonsecure custody of Galena on

       20 June 2016, and Galena remained outside of respondent’s custody for the entirety

       of the case. Thus, at the termination hearing, DSS needed to demonstrate both past

       neglect and a likelihood of future neglect by respondent. See id.
¶ 12         On appeal, respondent challenges the trial court’s determination that there

       was a likelihood of future neglect if Galena was returned to respondent’s care.

       Respondent does not contest the trial court’s finding that Galena was neglected in the

       past and does not challenge any factual findings in the termination order. Instead,

       respondent argues that the findings of fact do not support a determination that there

       was likelihood of future neglect because many, if not most, of the findings do not

       address respondent’s fitness to care for Galena at the time of the termination hearing.

       While respondent acknowledges that some of the findings do relate to her, she
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       contends that they simply note her completion of the case plan and do not support a

       determination that there was a likelihood of future neglect. We disagree.

¶ 13         In the termination-of-parental-rights order, the trial court made the following

       findings, none of which respondent challenges: Nadina was sexually abused by her

       father; respondent has refused to believe Nadina’s claims of sexual abuse by her

       father; respondent, by not believing Nadina’s claims, has caused emotional and

       psychological damage to Nadina; respondent continued to contend that Nadina’s self-

       harming behavior of cutting herself was only to get attention; throughout the entirety

       of the case, respondent attempted to discredit Nadina by calling her a liar and

       indicating that Nadina was making up the sexual-abuse allegations; respondent

       consistently failed to acknowledge her children’s special needs; respondent indicated

       she would not provide her children their prescribed medications if she felt that they

       did not need them; respondent had expressed at past hearings that she did not know

       whether or not Galena should be around her father; respondent stopped attending

       therapy in September 2018; and respondent lacked insight into the issues that led to

       DSS involvement and her role and responsibility in contributing to the situation.

¶ 14         Further, respondent failed to demonstrate any ability to recognize threats to

       Galena or an ability to protect Galena despite completing the case plan. While

       respondent had received training on how to respond to sexual abuse, she still testified

       that she “did not know” whether or not Galena should be around her father. Even
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       after years of involvement by DSS, the trial court, and numerous professionals,

       respondent failed to acknowledge any concern with her ability to parent and protect

       the children, failed to accept any responsibility for her actions, and continued to deny

       that she had done anything wrong. Accordingly, the trial court found that respondent

       had not demonstrated that she had gained knowledge from her case plan about how

       to resolve the issues at home, had showed no changes in the positive, and was not

       able to protect Galena from her father or any other male.

¶ 15         These unchallenged findings, which are binding on appeal, support the trial

       court’s determination that there was a likelihood of future neglect if Galena were

       returned to respondent’s care. Respondent’s completion of her case plan does not

       preclude a determination that neglect is likely to reoccur. See In re D.W.P., 373 N.C.

       327, 339–40 (2020) (noting that the completion of a case plan did not contradict a

       determination that there was a likelihood of future neglect when respondent

       consistently failed to recognize the pattern of abuse her child had suffered). After

       years of professional, court, and DSS involvement, the issues that led to Galena’s

       removal remained: respondent still could not protect her children from threats and

       thus could not provide them an environment that was not injurious to their welfare.

       Therefore, we hold that the trial court’s determination that there was a probability

       of future neglect was supported by the findings of fact. As respondent has made no

       other challenges to the trial court’s adjudication of grounds to terminate respondent’s
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       parental rights pursuant to N.C.G.S. § 7B-1111(a)(1), we find no error by the trial

       court as to this ground.

                                       III.     Conclusion

¶ 16         Since only one of the grounds outlined in N.C.G.S. § 7B-1111(a) is necessary to

       support a termination of parental rights, we decline to address respondent’s

       arguments challenging the trial court’s conclusion that grounds existed to terminate

       her parental rights under N.C.G.S. § 7B-1111(a)(2) and (6). Here, the trial court’s

       determination that grounds existed to terminate respondent’s parental rights for

       neglect pursuant to N.C.G.S. § 7B-1111(a)(1) was supported by the unchallenged

       findings of fact. Further, respondent does not challenge the trial court’s

       determination that it was in Galena’s best interests to terminate respondent’s

       parental rights. Accordingly, we affirm the order terminating respondent’s parental

       rights.

             AFFIRMED.
